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26   Attorneys for Defendants and                Attorneys for Plaintiff and Counterdefendant
     Counterclaimants Oracle America, Inc. and   Rimini Street, Inc., and Counterdefendant
27   Oracle International Corp.                  Seth Ravin

28

         JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED] ORDER TO CORRECT THE
                                     RECORD, NUNC PRO TUNC
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 2 of 9



 1
                                   UNITED STATES DISTRICT COURT
 2
                                          DISTRICT OF NEVADA
 3
      RIMINI STREET, INC., a Nevada corporation;                Case No 2:14-cv-01699 LRH CWH
 4                   Plaintiff,
                                                               JOINT STIPULATION OF
              v.                                               CORRECTED DOCUMENT AND
 5    ORACLE INTERNATIONAL CORPORATION,                        [PROPOSED] ORDER TO CORRECT
 6    a California corporation, and ORACLE                     THE RECORD, NUNC PRO TUNC
      AMERICA, INC., a Delaware
 7    corporation
                     Defendants.
 8
      ORACLE AMERICA, INC., a Delaware
 9    corporation; and ORACLE
10    INTERNATIONAL CORPORATION, a
      California corporation,
11                   Counterclaimants,
12           v.
      RIMINI STREET, INC., a Nevada corporation;
13    SETH RAVIN, an individual,
                     Counterdefendants.
14
            Plaintiff and Counterdefendant Rimini Street, Inc. and Counterdefendant Seth Ravin
15
     (collectively, “Rimini”) and Defendants and Counterclaimants Oracle America, Inc. and Oracle
16
     International Corp. (collectively, “Oracle”; all parties collectively, “Parties,” and any party,
17
     “Party”) jointly submit this Stipulation and [Proposed] Order.
18
            WHEREAS, on January 17, 2017 Oracle filed its Third Amended Counterclaims as ECF
19
     Nos. 397 (redacted) and 399 (under seal).
20
            WHEREAS, due to a scrivener’s error, some of the copyright registration numbers listed
21
     on pages 36 and 37 of Oracle’s Third Amended Counterclaims are incorrect.
22
            WHEREAS, on May 2, 2017, Rimini filed its Third Amended Complaint as ECF Nos.
23
     487 (redacted) and 489 (under seal).
24
            WHEREAS, the same erroneous copyright registration numbers are listed in Rimini’s
25
     Third Amended Complaint at pages 39 and 40.
26
            WHEREAS, the documents attached hereto correct these typographical errors by making
27
     the following changes:
28
                                                       1
          JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED] ORDER TO CORRECT
                                  THE RECORD, NUNC PRO TUNC
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 3 of 9



 1
                 1. The registration number for Oracle E-Business Suite 11.5.1 is TX 8-060-246.
 2
                 2. The registration number for Oracle E-Business Suite 11.5.10 is TX 8-060-225.
 3
                 3. The registration number for Oracle E-Business Suite 12.0.0 is TX 8-060-232.
 4
                 4. The registration for Oracle E-Business Suite 12.1.1 is TX 8-060-249.
 5
                 5. The registration for Oracle E-Business Suite 12.2.2 is TX 8-060-253.
 6
                 6. The registration for Oracle E-Business Suite Financial 11.5.1 is TX 8-060-264.
 7
                 7. The registration number for Oracle E-Business Suite Financial 11.5.10 is TX 8-
 8
                     060-259.
 9
                 8. The registration number for Oracle E-Business Suite Financial 12.0.0 is TX 8-
10
                     060-258.
11
                 9. The registration for Oracle E-Business Suite Financial 12.1.1 is TX 8-060-255.
12
                 10. The registration number for Oracle E-Business Suite Financial 12.2.2 is TX 8-
13
                     060-269.
14
                 11. The registration number for Oracle E-Business Suite Human Capital
15
                     Management 11.5.1 is TX 8-108-902.
16
                 12. The registration number for Oracle E-Business Suite Human Capital
17
                     Management 11.5.10 is TX 8-108-914.
18
                 13. The registration number for Oracle E-Business Suite Human Capital
19
                     Management 12.0.0 is TX 8-108-944.
20
                 14. The registration number for Oracle E-Business Suite Human Capital
21
                     Management 12.1.1 is TX 8-108-891.
22
                 15. The registration number for Oracle E-Business Suite Human Capital
23
                     Management 12.2.2 is TX 8-108-877.
24
            WHEREAS, the Parties agree that the corrected version of Oracle’s redacted Third
25
     Amended Counterclaims, attached hereto as Exhibit A, should replace, nunc pro tunc, the
26
     redacted version originally filed on January 17, 2017 as ECF No. 397, and that the corrected
27
     version of Oracle’s sealed Third Amended Counterclaims, attached hereto and filed under seal as
28
                                                    2
         JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED] ORDER TO CORRECT
                                 THE RECORD, NUNC PRO TUNC
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 4 of 9



 1
     Exhibit B, should replace, nunc pro tunc, the version originally filed under seal on January 17,
 2
     2017 as ECF No. 399.
 3
              WHEREAS, the Parties agree that the corrected version of Rimini’s redacted Third
 4
     Amended Complaint, attached hereto as Exhibit C, should replace, nunc pro tunc, the redacted
 5
     version originally filed on May 2, 2017 as ECF No. 487, and that the corrected version of
 6
     Rimini’s sealed Third Amended Complaint, attached hereto and filed under seal as Exhibit D,
 7
     should replace, nunc pro tunc, the version originally filed under seal on May 2, 2017 as ECF No.
 8
     489.
 9
              WHEREAS, the Parties elect to treat all applicable denials, responses, and affirmative
10
     defenses raised in Rimini’s Motion to Dismiss Oracle’s Third Amended Counterclaims, filed on
11
     February 14, 2017 as ECF No. 409, and in Rimini’s Answer to Oracle’s Third Amended
12
     Counterclaims, filed on February 14, 2017 as ECF No. 410, as responsive to the Corrected Third
13
     Amended Counterclaims.
14
              WHEREAS, the Parties elect to treat Oracle’s Motion to Dismiss Rimini’s Third
15
     Amended Complaint, filed on May 30, 2017 as ECF No. 505, as responsive to the Corrected
16
     Third Amended Complaint.
17
              THEREFORE, the Parties stipulate and request that the Court instruct the Clerk to
18
     replace Oracle’s redacted Third Amended Counterclaims as filed on January 17, 2017 as ECF
19
     No. 397 with the corrected redacted Third Amended Counterclaims attached hereto as Exhibit A,
20
     nunc pro tunc; to replace Oracle’s Third Amended Counterclaims as filed under seal on January
21
     17, 2017 as ECF No. 399 with the corrected sealed Third Amended Counterclaims attached
22
     hereto and filed under seal as Exhibit B, nunc pro tunc; to replace Rimini’s redacted Third
23
     Amended Complaint as filed on May 2, 2017 as ECF No. 487 with the corrected redacted Third
24
     Amended Complaint attached hereto as Exhibit C, nunc pro tunc; and to replace Rimini’s sealed
25
     Third Amended Complaint as filed on May 2, 2017 as ECF No. 489 with the corrected sealed
26
     Third Amended Complaint attached hereto as Exhibit D, nunc pro tunc.
27

28
                                                      3
            JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED] ORDER TO CORRECT
                                    THE RECORD, NUNC PRO TUNC
      Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 5 of 9



 1
     DATED: September 20, 2017
 2
     GIBSON, DUNN & CRUTCHER LLP                         MORGAN, LEWIS & BOCKIUS LLP
 3

 4

 5   By:                                                 By:
                    Jeffrey T. Thomas                                   Thomas S. Hixson
 6   Attorneys for Plaintiff and Counterdefendant        Attorney for Defendants and
     Rimini Street, Inc. and Counterdefendant Seth       Counterclaimants Oracle America, Inc.
 7   Ravin                                               and Oracle International Corporation

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           JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED] ORDER TO CORRECT
                                   THE RECORD, NUNC PRO TUNC
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 6 of 9

 1
                                  UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3
      RIMINI STREET, INC., a Nevada corporation;            Case No 2:14-cv-01699 LRH CWH
 4                   Plaintiff,
                                                              [PROPOSED] ORDER CORRECTING
              v.                                              THE RECORD, NUNC PRO TUNC
 5
      ORACLE INTERNATIONAL CORPORATION,
 6    a California corporation, and ORACLE
      AMERICA, INC., a Delaware
 7    corporation
                     Defendants.
 8
      ORACLE AMERICA, INC., a Delaware
 9    corporation; and ORACLE
      INTERNATIONAL CORPORATION, a
10    California corporation,
                     Counterclaimants,
11
              v.
12    RIMINI STREET, INC., a Nevada corporation, et
      al.,
13                   Counterdefendants.
14                                        [PROPOSED] ORDER
15          IT IS ORDERED that Oracle’s Corrected Redacted Third Amended Counterclaims,
16   attached as Exhibit A to the Parties’ Joint Stipulation of Corrected Document, shall replace
17   nunc pro tunc the redacted document titled Oracle’s Third Amended Counterclaims filed on
18   January 17, 2017, ECF No. 397.
19          IT IS FURTHER ORDERED that Oracle’s Corrected Third Amended Counterclaims,
20   attached and filed under seal as Exhibit B to the Parties’ Joint Stipulation of Corrected
21   Document, shall replace nunc pro tunc the document titled Oracle’s Third Amended
22   Counterclaims filed under seal on January 17, 2017, ECF No. 399.
23          IT IS FURTHER ORDERED that Rimini’s Corrected Redacted Third Amended
24   Complaint, attached as Exhibit C to the Parties’ Joint Stipulation of Corrected Document, shall
25   replace nunc pro tunc the redacted document titled Rimini’s Third Amended Complaint filed on
26   May 2, 2017 as ECF No. 487.
27          IT IS FURTHER ORDERED that Rimini’s Corrected Third Amended Complaint,
28   attached and filed under seal as Exhibit D to the Parties’ Joint Stipulation of Corrected



                       [PROPOSED] ORDER CORRECTING THE RECORD, NUNC PRO TUNC
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 7 of 9

 1   Document, shall replace nunc pro tunc the document titled Rimini’s Third Amended Complaint
 2   filed under seal on May 2, 2017 as ECF No. 489.
 3

 4
                                                 IT IS SO ORDERED:
 5

 6                                                     9/22/17

 7
                                                  Hon. Larry J. Hicks
 8                                                United States District Judge

 9
                                                  Dated: _______________, 2017
10

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                                       ATTESTATION OF FILER
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 8 of 9

 1
                                      ATTESTATION OF FILER
 2
            The signatories to this document are Jeffrey T. Thomas and me, and I have obtained his
 3
     concurrence to file this document on his behalf.
 4

 5
      DATED: September 20, 2017                  MORGAN, LEWIS & BOCKIUS LLP
 6

 7

 8                                               By:
                                                                   Thomas S. Hixson
 9                                               Attorney for Defendants and
                                                 Counterclaimants Oracle America, Inc.
10                                               and Oracle International Corporation
11

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                                         ATTESTATION OF FILER
       Case 2:14-cv-01699-LRH-CWH Document 591 Filed 09/22/17 Page 9 of 9

 1
                                     CERTIFICATE OF SERVICE
 2
            I certify that on September 20, 2017, I electronically transmitted the foregoing:
 3

 4          JOINT STIPULATION OF CORRECTED DOCUMENT AND [PROPOSED]
            NUNC PRO TUNC ORDER TO CORRECT THE RECORD
 5
            [PROPOSED] ORDER CORRECTING THE RECORD, NUNC PRO TUNC
 6
     to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
 7

 8   Electronic Filing to all counsel in this matter; all counsel are CM/ECF registrants.

 9

10    DATED: September 20, 2017                   MORGAN, LEWIS & BOCKIUS LLP

11

12
                                                  By:
13                                                                  Thomas S. Hixson
                                                  Attorney for Defendants and
14                                                Counterclaimants Oracle America, Inc.
                                                  and Oracle International Corporation
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                                           CERTIFICATE OF SERVICE
